     Case 1:07-cv-00316-OWW-GSA Document 190 Filed 03/04/09 Page 1 of 3


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                                    UNITED STATES DISTRICT COURT
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                      EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
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11    KIMBERLY BARSAMIAN,                                    CASE NO. 1:07-CV-00316-OWW-GSA
12                   Plaintiff,                              ORDERS ON DEFENDANT CITY OF
                                                             KINGSBURG’S MOTIONS IN
13    v.                                                     LIMINE NOS. 1 THROUGH 7 AND
                                                             ORDER ON DEFENDANT CITY OF
14    CITY OF KINGSBURG, MARTIN SOLIS,                       KINGSBURG’S MOTION TO ADMIT
      individually and in his official capacity as a         EVIDENCE OF PRE- AND POST-
15    Police Officer for the City of Kingsburg               INCIDENT SEXUAL HISTORY OF
      Police Department, and DOES 1 through                  PLAINTIFF
16    100, inclusive,
17                   Defendants.
18
                                   ORDERS ON MOTIONS IN LIMINE
19
                     The Motions in Limine of Defendant, CITY OF KINGSBURG, came on for hearing
20
      before this Court on February 20, 2008, in Courtroom 3 of the above-entitled Court, with Attorney
21
      Peter Kapetan appearing for Plaintiff, KIMBERLY BARSAMIAN, Attorney Alfred A. Gallegos
22
      appearing for Defendant, CITY OF KINGSBURG, and Attorney Karen L. Lynch appearing for
23
      Defendant, MARTIN SOLIS. After consideration of the briefs and arguments of counsel, and all
24
      other matters presented to the Court, the Court hereby makes the following Orders:
25
                     1.      As to the City of Kingsburg’s Motion in Limine No. 1: To Admit Evidence
26
      of Plaintiff’s Court Proceedings and Arrests from May 1, 2005, to the Present.
27
      ///
28

                                                                  ORDERS ON MOTIONS IN LIMINE AND ORDER ON MOTION TO
                                                       -1-     ADMIT EVIDENCE OF PRE- AND POST-INCIDENT SEXUAL HISTORY
     Case 1:07-cv-00316-OWW-GSA Document 190 Filed 03/04/09 Page 2 of 3


 1                   DENIED IN PART to the extent that the City of Kingsburg seeks to use change of

 2    plea forms to establish that a knowing and intelligent waiver of rights at a court proceeding is

 3    evidence of her state of mind. GRANTED IN PART to establish dates of court hearings, but

 4    without reference to the specific charges pertaining to the specific court hearing.

 5                   2.       As to Motion in Limine No. 2: To Exclude Testimony from A.A. Howsepian,

 6    M.D. on the Issue of Future Damages on the Grounds That Such Opinions Are Speculation and Lack

 7    of Proper Foundation.

 8                   DENIED.

 9                   3.       As to Motion in Limine No. 3: To Exclude Evidence or Testimony of a

10    Photocopy Entitled “Off-Brothers” or “Off Triplets.”

11                   GRANTED.

12                   4.       As to Motion in Limine No. 4: To Exclude Evidence or Testimony That Mr.

13    Solis Solicited a Prostitute and Stole from an Employer Prior to Being Appointed as a Reserve

14    Officer with the City of Kingsburg.

15                   GRANTED.

16                   5.       As to Motion in Limine No. 5: To Exclude Evidence or Testimony

17    Concerning the Alleged General Reputation in the City of Kingsburg That Kimberly Barsamian Is

18    “Crazy.”

19                   GRANTED.

20                   6.       As to Motion in Limine No. 6: To Exclude Evidence or Testimony that

21    Defendant Martin Solis was Involved in a Prior Internal Affairs Investigation (Tara H.).

22                   GRANTED.

23                   7.       As to Motion in Limine No. 7: to Prohibit Expert Testimony of All Treating

24    Health Care Providers Who Were Not Disclosed Within Plaintiff’s Expert Witness Disclosure.

25                   GRANTED.

26                   IT IS SO ORDERED.

27    ///

28    ///

                                                                    ORDERS ON MOTIONS IN LIMINE AND ORDER ON MOTION TO
                                                      -2-        ADMIT EVIDENCE OF PRE- AND POST-INCIDENT SEXUAL HISTORY
     Case 1:07-cv-00316-OWW-GSA Document 190 Filed 03/04/09 Page 3 of 3


 1                     ORDER ON MOTION TO ADMIT EVIDENCE OF PRE-
                      AND POST-INCIDENT SEXUAL HISTORY OF PLAINTIFF
 2

 3                    As to the City of Kingsburg’s Motion to Admit Evidence of Pre- and Post-incident

 4    Sexual History of Plaintiff, after consideration of the briefs and arguments of counsel, and all other

 5    matters presented to the Court, the Court hereby makes the following Order:

 6                    The Court reserves its ruling on this motion as any such ruling will be dependent upon

 7    the evidence presented at trial.

 8                    No reference shall be made to termination of pregnancies unless Plaintiff first

 9    addresses the issue in the course of trial.

10                    Additionally, the parties and witnesses shall refrain from referring to other non-party,

11    non-consensual sexual contacts as a “rape.” The parties shall refer to any such incident in a neutral

12    manner (i.e., “non-consensual intimate contact).

13                    IT IS SO ORDERED.

14    Dated: March 4, 2009                                /s/ Oliver W. Wanger
      emm0d6                                         UNITED STATES DISTRICT JUDGE
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                                                                      ORDERS ON MOTIONS IN LIMINE AND ORDER ON MOTION TO
                                                        -3-        ADMIT EVIDENCE OF PRE- AND POST-INCIDENT SEXUAL HISTORY
